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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )        2:99cr137-MHT
CLARENCE CLAY                      )

                                ORDER

    After    an   independent      and   de   novo    review    of      the
record, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:
    (1) Defendant Clarence Clay’s objections (Doc. No.

         993) are overruled.
    (2) The        United       States        Magistrate        Judge's
         recommendation (Doc. No. 988) is adopted.

    (3) Defendant Clarence Clay’s petition for writ of
         error coram nobis (Doc. No. 986) is denied.

    DONE, this the 18th day of July, 2011.


                               /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
